         Case 1:19-cr-10141-LTS Document 147 Filed 08/10/20 Page 1 of 3



                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS



 UNITED STATES OF AMERICA,

        v.
                                                        Crim. No. 19-10141-LTS
 SHELLEY M. RICHMOND JOSEPH,

                Defendant.



                    DEFENDANT SHELLEY M. RICHMOND JOSEPH’S
                       NOTICE OF INTERLOCUTORY APPEAL

       PLEASE TAKE NOTICE that on this 10th day of August, 2020, Defendant Shelley M.

Richmond Joseph appeals to the United States Court of Appeals for the First Circuit from the

Order entered by the Honorable Leo T. Sorokin on July 27, 2020, denying Defendant’s Motion

to Dismiss the Indictment. Jurisdiction is appropriate under 28 U.S.C. § 1291. See Mitchell v.

Forsyth, 472 U.S. 511, 525 (1985) (“[T]he denial of a substantial claim of absolute immunity is

an order appealable before final judgment, for the essence of absolute immunity is its possessor’s

entitlement not to have to answer for his conduct….”); McCullough v. Finley, 907 F.3d 1324,

1330 (11th Cir. 2018) (“[A] defendant may immediately appeal a denial of absolute judicial

immunity…”); United States v. Claiborne, 727 F.2d 842, 844-845 (9th Cir. 1984) (same in

criminal case); see also Morales v. Ramirez, 906 F.2d 784, 787 (1st Cir. 1990) (court of appeals

may review on appeal “issue[s] underlying, and interwoven with” assertion of immunity).




                                                1
        Case 1:19-cr-10141-LTS Document 147 Filed 08/10/20 Page 2 of 3



Dated: August 10, 2020                    Respectfully submitted,

                                          SHELLEY M. RICHMOND JOSEPH

                                       /s/ Thomas M. Hoopes
                                       THOMAS M. HOOPES, ESQ.
                                       BBO No. 239340
                                       /s/ Douglas S. Brooks
                                       DOUGLAS S. BROOKS, ESQ.
                                       BBO No. 636697
                                       LibbyHoopes, P.C.
                                       399 Boylston Street
                                       Boston, MA 02116
                                       (617) 338-9300
                                       thoopes@libbyhoopes.com

                                       /s/ Elizabeth N. Mulvey
                                       ELIZABETH N. MULVEY
                                       BBO No. 542091
                                       Crowe & Mulvey LLP
                                       77 Franklin Street, 3rd Floor
                                       Boston, MA 02110
                                       (617) 426-4488
                                       emulvey@croweandmulvey.com

                                       Counsel for Defendant Shelley M. Richmond
                                       Joseph




                                      2
         Case 1:19-cr-10141-LTS Document 147 Filed 08/10/20 Page 3 of 3



                                 CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the CM/ECF system will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing.


                                                               /s/ Thomas M. Hoopes
                                                               THOMAS M. HOOPES
